
On the court’s own motion, the decision handed down May 1, 1950 (ante, p. 776), is amended to read as follows: In a proceeding to fix the emergency rent of commercial space an order was made by an Official Referee granting the tenant’s motion to vacate a prior hearing and to direct a rehearing de novo. The granting of such relief, however, was coupled with the condition that the tenant pay to the landlord the sum of $1,500 on account of any rent due or which may become due from the tenant. The tenant appeals from so much of the order as imposes such condition. Order, insofar as appealed from, modified by striking from the first ordering paragraph the words “ within five (5) days after the service of a copy of the within order with notice of entry thereof on the attorney for the Respondent herein ” and inserting in place thereof the following: “ on or before the 10th day of May, 1950,”; and by striking from the second ordering paragraph the words “five (5) day” and the date “1st day of March” and inserting in place of such date the following: “ 15th day of May ”. As thus modified the order is affirmed, with $10 costs and disbursements to the respondent. No opinion. Nolan, P. J., Johnston, Adel, Wenzel and MacCrate, JJ., concur.
